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October 11, 2021

Stephen F. Brennwald, Esq.
922 Pennsylvania Ave., SE
Washington, DC 20003

Dear Mr. Brennwald,

I am writing in support of Thomas F. Sibick, who is not only my nephew but a person whom I
have had the privilege of watching grow and develop from birth. As a professional in the field of
child development I witnessed Thomas move through the stages and phases expectantly, some
with challenge, though he always emerged successfully navigating. As with any relative I have
always had Thomas’s best interest in mind, however, as his Godmother, he holds a special
place in my heart. It is with this emotion and professional expertise that I offer my character
reference.

Please accept my thoughts and words as an honest description of a man whom I know well,
who I believe and trust to be true to his word.

Sincerely,

Diane M Cicatello, MD, FAAP
Developmental and Behavioral Pediatrician
Board Certified
